Case 7:18-cv-00135-GEC Document 16 Filed 01/07/19 Page 1 of 1 Pageid#: 44

                                                                                   CLERK'S OFFICE U.S. DIST. COURT
                                                                                          AT ROANOKE, VA
                                                                                               FILED
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA                              JAN 0 7 2019
                                  ROANOKE DIVISION

VIRGINIA STAFFORD,                                 )                                       DEPUTYC
                                                   )       Civil Action No. 7:18CV00135
       Plaintiff,                                  )
                                                   )
V.                                                 )       ORDER OF DISMISSAL
                                                   )
CIRCLE K STORES, INC. ,                            )
                                                   )       By: Hon. Glen E. Conrad
       Defendant.                                  )       Senior United States District Judge

       The court has before it the parties' stipulation of dismissal in this case filed pursuant to

Rule 41(a)(l)(A)(ii) ofthe Federal Rules of Civil Procedure.

       It is accordingly,

                                   ADJUDGED and ORDERED

that the above-styled matter is DISMISSED with prejudice, each party to bear its own costs and

attorney's fees, and this case is stricken from the active docket of this court.

       The Clerk is hereby directed to send a certified copy of this order to all counsel of record.

               Enter this   1~       day of January, 2019.




                                                Senior United States District Judge
